     Case 1:11-cr-00529-AJT Document 1 Filed 11/02/11 Page 1 of 3 PageID# 1




                    IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


UNITED STATES OF AMERICA                            ) UNDER SEAL
                                                    ) (L.R. 49(B))
               v.                                   )
                                                    ) Case No. 1:11CR529
EZIO BENJAMIN FIGUEROA VASQUEZ,                     )
                                                    )
HASSEIN EDUARDO FIGUEROA GOMEZ,                     )
                                                    )
               Defendants.                          )

                    MOTION TO SEAL PURSUANT TO LOCAL RULE 49(B)


       The United States, by and through undersigned counsel, pursuant to Local Rule 49(B) of

the Local Criminal Rules for the United States District Court for the Eastern District of Virginia,

asks for an Order to Seal the Indictment, this Motion to Seal, and the proposed Order until the

charged defendants are arrested, for the following reasons:

        1.     The Drug Enforcement Administration is currently investigating a conspiracy to

commit money laundering, in violation of Title 18, United States Code, § 1956, and related

criminal activity. One defendant is in custody in Mexico and extradition to the United States will

be sought. The other defendant is expected to be arrested when found and thereafter extradited to

the United States. Premature disclosure of the charges against this defendant could cause him to

go into hiding or to flee to countries that are less likely to extradite him to the United States.

       2.      Premature disclosure of the charges against the defendants would thus jeopardize

an ongoing criminal investigation, threatening our ability to locate and arrest the defendant. In

addition, premature disclosure could jeopardize the safety or cooperation of confidential

witnesses and law enforcement officers and lead to the destruction of evidence as well as the
      Case 1:11-cr-00529-AJT Document 1 Filed 11/02/11 Page 2 of 3 PageID# 2




dissipation of assets subject to forfeiture.

        3.      The Court has the inherent power to seal a charging document. See United States

v. Wuagneux. 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v. Mavpennv. 672 F.2d

761,765 (9th Cir. 1982); Times Mirror Company v. United States. 873 F.2d 1210 (9th Cir.

1989); see also Shea v. Gabriel. 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard. 650

F.2d 293 (D.C. Cir. 1980); In re Braughton. 520 F.2d 765, 766 (9th Cir. 1975). "The trial court

has supervisory power over its own records and may, in its discretion, seal documents if the

public's right of access is outweighed by competing interests." In re Knight Pub. Co.. 743 F.2d

231, 235 (4th Cir. 1984). Sealing the charging documents is appropriate where there is a

substantial probability that the release of the sealed documents would compromise the

government's on-going investigation severely. See e^ In re SearchWarrant for Secretarial Area

Outside Office of Gunn. 855 F.2d 569, 574 (8th Cir. 1988); Matter of Eve Care Physicians of

America. 100 F.3d 514, 518 (7th Cir. 1996); Matter of Flower Aviation of Kansas. Inc.. 789

F.Supp. 366 (D.Kan. 1992).

        4.      The sealed materials will be automatically unsealed and handled as such upon the

arrest of both charged defendants. Because foreign arrest and extradition likely will be required,

the United States asks that the Court authorize disclosure of sealed materials to foreign law

enforcement or foreign governments for purposes of securing a defendant's arrest or extradition

or otherwise securing a defendant's appearance in the Eastern District of Virginia for

prosecution.

        5.      The United States has considered alternatives less drastic than sealing and has

found none that would suffice to protect this investigation. The United States will move to
     Case 1:11-cr-00529-AJT Document 1 Filed 11/02/11 Page 3 of 3 PageID# 3




unseal the documents before they are set to become automatically unsealed if it determines that

circumstances warrant such action.


       WHEREFORE, the United States respectfully requests that the Indictment and this

Motion to Seal and proposed Order be sealed until all charged defendants are arrested.

                                                    Respectfully submitted,

                                                    Neil H. MacBride
                                                    United States Attorney




                                                    Daniel J. Grooms
                                                    Assistant United States Attorney
